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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 5:21CR50014-001
                                             )
JOSHUA JAMES DUGGAR                          )

  GOVERNMENT’S MOTION FOR ORDER AUTHORIZING THE ISSUANCE OF A
             TRIAL SUBPOENA PURSUANT TO RULE 17(c)


       Comes now the United States of America, by and through Dustin Roberts and Carly

Marshall, Assistant United States Attorneys for the Western District of Arkansas, and William G.

Clayman, Trial Attorney for the United States Department of Justice, and respectfully requests this

Court enter an Order for the issuance of a trial subpoena in the above-captioned case scheduled for

jury trial commencing November 30, 2021, and states:

       1.      The Defendant is charged in a two-count indictment with receipt of child

pornography, in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1), and possession of child

pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2).

       2.      During the course of the investigation and in preparation for trial, the Government

has reason to believe the Defendant will attempt to introduce evidence that other individuals had

access to the defendant’s HP desktop computer at issue and therefore could have committed the

offenses charged in the indictment. Based on previous filings submitted by the defense, the

Government believes one of these individuals the Defendant may suggest is William Mize. The

Government has reason to believe Mize was in Missouri during the relevant timeframe at issue

and is seeking bank records for confirmation. The Government is requesting the records from


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Regions Bank for any and all account information connected to William Mize, including but not

limited to:

         -    Account ownership, including but not limited to, authorized users, account holder
              contact information, signature cards or ledger cards;
         -    Statements from May 2019, reflecting location and dates of all account activity,
              including but not limited to deposits, withdrawals, debit and credit memos, deposit
              slips, checks deposited, withdrawal slips and checks issued for withdrawals;
         -    All credits and debits, the amount and location of credit and debits, account deposits
              and withdrawals including ATM and teller and the location;
         -    Deposit slips showing location of transaction, date of transaction and any other
              information related to the deposit activity.

         3.       These records are relevant for the Government’s case as they may affirmatively

exclude Mize from Wholesale Motors and state of Arkansas on the dates in question.

         4.      Fed. R. Crim. Pro. 17(c)(1), in part, authorizes the Court to direct a witness to

“produce the designated items in court before trial or before they are to be offered in evidence.

When the items arrive, the court may permit the parties and their attorneys to inspect all or part of

them.”

         5.      The Government asks that after the subpoena is prepared by the Clerk’s office, that

Homeland Security Investigations Special Agent Howard Aycock be authorized to serve the trial

subpoena on Regions Bank.

         6.      The Government requests that the subpoenaed material be ordered returned to the

Court on or before November 15, 2021.

         7.      The Government respectfully requests that the Court permit the parties to copy the

records that are obtained pursuant to trial subpoenas authorized under Fed. R. Crim. P. 17(c)(1).




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                                     Respectfully submitted,

                                     DAVID CLAY FOWLKES
                                     ACTING UNITED STATES ATTORNEY

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                               CERTIFICATE OF SERVICE

        I, Carly Marshall, Assistant United States Attorney for the Western District of Arkansas,
hereby certify that on November 4, 2021, a true and correct copy of the foregoing pleading was
electronically filed with the Clerk of Court using the CM/ECF System which will send notification
of such filing to the following:

       Justin Gelfand, attorney for the Defendant, justin@margulisgelfand.com
       Travis Story, attorney for the Defendant, travis@storylawfirm.com
       Greg Payne, attorney for the Defendant, greg@storylawfirm.com


                                                    /s/ Carly Marshall
                                                    Assistant United States Attorney




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